Harriet Harkrader, defendant in error here, was a teacher in the Cummings School in Cincinnati. She taught classes in various subjects and carried out a program outlined by the board of education and the principal of the school. In addition to teaching the text books she conducted classes for the children in athletics, and also conducted exercises in connection with certain holidays.
At the time here in question she was preparing for the Thanksgiving entertainment for the school, and was in need of a kettle, to carry out a fireplace staging.
On the 23rd of November, 1932, at 7:45, a.m., she started to her school in her automobile. She had gone part of the way when she recalled that she needed a kettle for the fireplace she was staging in the school entertainment, and remembered also that she had a kettle at home. She thereupon turned around, returned to her home, and secured the kettle; but coming out of the house she caught her heel on the step and fell, sustaining the injuries which are the basis of this action.
She filed her claim with the Industrial Commission of Ohio, which rejected the claim; and, on a rehearing, her claim was again denied by the commission. Thereupon she filed her appeal in the Court of Common Pleas of Hamilton county.
At the close of the evidence at the trial in the Court of Common Pleas both parties requested the court for an instructed verdict. The court overruled the motion of the Industrial Commission and granted the motion of Harkrader, directing the jury to return a *Page 78 
verdict finding her entitled to participate in the Workmen's Compensation Fund.
The Industrial Commission prosecutes error to this court.
The plaintiff in error claims as a matter of law that the injury was not the result of a hazard of claimant's employment. The facts as above stated present the question.
If the claimant had not reached the zone of her employment when the accident occurred, we are unable to see how her return to get a kettle for use in her place of employment is a hazard of the employment. It is argued that the fact that she had started to her place of employment and returned for an article to be used in her place of employment would remove the proposition that the employee may not participate in the Industrial Commission fund when injured on the way to her employment. If this should be so decided, then in every case where an employee starts to work, and after starting returns for some article that he could use at his place of employment, and is injured, the rule that an employee may not participate in the fund when injured on the way to the place of employment would be easily circumvented.
Our conclusion is that the steps at the claimant's home did not constitute a hazard of her employment, and that her return for a kettle to be used at her place of employment does not make it so, and consequently the injury does not arise out of the employment.
We are of opinion that this conclusion is supported by the case of Highway Oil Co. v. State, ex rel., 130 Ohio St. 175,198 N.E. 276, and cases cited.
The judgment will be reversed and judgment entered here in favor of the plaintiff in error, The Industrial Commission of Ohio.
Judgment reversed and judgment for plaintiff in error.
ROSS, P.J., and MATTHEWS, J., concur. *Page 79 